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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                      §
    In re:                                                            §     Chapter 11
                                                                      §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                           §     Case No. 20-33233 (DRJ)
                                                                      §
                                        Reorganized Debtors.          §     (Jointly Administered)
                                                                      §     (Emergency Relief Requested)

                            REORGANIZED DEBTORS’ EMERGENCY
                          MOTION TO ENFORCE CONFIRMATION ORDER


             Emergency relief has been requested. A hearing will be conducted on this matter on March
             30, 2021 at 11:30 am, prevailing Central Time, in Courtroom 400, 4th floor, 515 Rusk Street,
             Houston, Texas 77002. You may participate in the hearing by audio/video connection.

             Audio communication will be by use of the Court’s dial-in facility. You may access the facility
             at (832) 917-1510. You will be responsible for your own long distance charges. Once
             connected, you will be asked to enter the conference room number. Judge Jones’s conference
             room number is 205691.

             You may view video via GoToMeeting. To use GoToMeeting, the Court recommends that you
             download the free GoToMeeting application. To connect, you should enter the meeting code
             “JudgeJones” in the GoToMeeting app or click the link on Judge Jones’s home page on the
             Southern District of Texas website. Once connected, click the settings icon in the upper right
             corner and enter your name under the personal information setting.

             Hearing appearances must be made electronically in advance of the hearing. To make your
             electronic appearance, go to the Southern District of Texas website and select “Bankruptcy
             Court” from the top menu. Select “Judges’ Procedures,” then “View Home Page” for Judge
             Jones. Under “Electronic Appearance” select “Click here to submit Electronic Appearance.”
             Select the case name, complete the required fields, and click “Submit” to complete your
             appearance.

             If you object to the relief requested or you believe that emergency consideration is not
             warranted, you must either appear at the hearing or file a written response prior to the
             hearing. Otherwise, the Court may treat the pleading as unopposed and grant the relief
             requested.

             Relief is requested not later than March 30, 2021.



1
      A complete list of each of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of
      the Debtors’ claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Reorganized Debtor
      Chesapeake Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11
      cases is 6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
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       The above-captioned reorganized debtors (before the Effective Date of the Plan,

the “Debtors,” and after the Effective Date of the Plan, the “Reorganized Debtors”) respectfully

state as follows in support of this motion:

                                      Preliminary Statement

       1.      One month after the Effective Date of the Plan, Epsilon Energy USA, Inc.

(“Epsilon”) commenced the litigation styled Epsilon Energy USA, Inc. v. Chesapeake Appalachia,

L.L.C., Civil Action No. 1:21—CV-00433—JPW (the “District Court Litigation”) in the United

States District Court for the Middle District of Pennsylvania (the “District Court”), asserting

pre-Effective Date claims for alleged breach of contract against Reorganized Debtor Chesapeake

Appalachia, L.L.C. (“Chesapeake Appalachia”). The Plan and the Confirmation Order discharge

the very claims that Epsilon seeks to pursue in the District Court Litigation regarding the JOAs

and the Settlement Agreement (both as defined below). Further, the Plan and the Confirmation

Order enjoin any action with respect to the pre-Effective Date claims asserted in the District Court

Litigation. Consequently, Epsilon’s commencement of the District Court Litigation subsequent to

the Effective Date is not only an assertion of discharged (and therefore no longer available) claims,

but is also a violation of the injunction provisions of the Plan and the Confirmation Order.

       2.      As described in more detail below, Epsilon received multiple notices in these

chapter 11 cases, yet never filed a proof of claim, objected to confirmation of the Plan, or otherwise

participated in the chapter 11 process. Yet, two days before commencing the District Court

Litigation, Epsilon filed a Reservation of Rights of Epsilon Energy USA, Inc. to Assert

Administrative Expense Claim [Docket No. 3186] (the “Epsilon Reservation”) in this Court

purporting to reserve its rights to “assert an administrative expense claim against [Chesapeake

Appalachia] for monetary damages (should it become necessary to do) in respect of a contractual

dispute between the parties that has arisen post-petition.”


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          3.       The District Court Litigation is an attempt by Epsilon to end-run around the

chapter 11 process, in violation of the discharge injunction. Accordingly, and for the reasons

discussed herein, the Court should grant this motion, enforce the Confirmation Order, and require

Epsilon to immediately dismiss the District Court Litigation with prejudice with respect to claims

based on pre-Effective Date conduct.

                                             Relief Requested

          4.       The Reorganized Debtors seek entry of an order, substantially in the form attached

hereto:        (a) enforcing the Order Confirming Fifth Amended Joint Chapter 11 Plan of

Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates [Docket No. 2915]

(the “Confirmation Order”)2 with respect to pre-Effective Date claims asserted post-Effective Date

by Epsilon in the District Court Litigation; and (b) granting related relief.

                                         Jurisdiction and Venue

          5.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Reorganized Debtors confirm their consent,

pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

the entry of a final order by the Court in connection with this motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

          6.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Confirmation Order.



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         7.    The bases for the relief requested herein are sections 105(a), 524(a), and 1141(d)

of the Bankruptcy Code, Bankruptcy Rules 3020(d) and 9014, and rule 9013-1(b) of the

Bankruptcy Local Rules for the Southern District of Texas (the “Local Rules”).

                                           Background

I.       The Chapter 11 Cases.

         8.    On June 28, 2020 (the “Petition Date”), the Debtors commenced these chapter 11

cases.

         9.    On August 13, 2020, the Court entered the Order (I) Setting Bar Dates for Filing

Proofs of Claim, Including Requests for Payment Under Section 503(b)(9), (II) Establishing

Amended Schedules Bar Date and Rejection Damages Bar Date, (III) Approving the Form of and

Manner for Filing Proofs of Claim, Including Section 503(b)(9) Requests, (IV) Approving Notice

of Bar Dates, and (V) Granting Related Relief [Docket No. 787] (the “Bar Date Order”),

establishing certain dates and deadlines for filing proofs of claim in these chapter 11 cases. Among

other things, the Bar Date Order established October 30, 2020 as the deadline for all

non-governmental entities holding or wishing to assert a “claim” against any of the Debtors that

arose before the Petition Date to file a proof of such claim in writing. The Plan and the

Confirmation Order require requests for administrative expense claims to be “[f]iled and served

on the Debtors no later than the Administrative Claims Bar Date, which shall be the first Business

Day that is thirty (30) days following the Effective Date,” or March 11, 2021. See Confirmation

Order, ¶ 109; see also Notice of Entry of Order Confirming the Fifth Amended Joint Chapter 11

Plan of Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates [Docket

No. 3058].




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        10.     On September 11, 2020, the Debtors filed the Joint Chapter 11 Plan of

Reorganization of Chesapeake Energy Corporation and Its Debtor Affiliates [Docket No. 1150]

(as may be amended, modified, or supplemented from time to time, the “Plan”).

        11.     On November 23, 2020, the Debtors filed the Plan Supplement for the Second

Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy Corporation and Its

Debtor Affiliates [Docket No. 1907] (as may be amended, modified, or supplemented from time

to time, the “Plan Supplement”), which included the Assumed Executory Contracts and Unexpired

Leases Schedule and the Rejected Executory Contracts and Unexpired Leases Schedule. On

February 27, 2021, the Reorganized Debtors filed a fourth amended Plan Supplement,3 which

included the Amended Assumed Executory Contracts and Unexpired Leases Schedule and the

Amended Rejected Executory Contracts and Unexpired Leases Schedule.

        12.     On January 13, 2021, the Court confirmed the fifth amended Plan.4 The Court

entered the Confirmation Order on January 16, 2021.

        13.     On February 9, 2021, the Effective Date of the Plan occurred. Notice of Entry of

Order Confirming the Fifth Amended Joint Chapter 11 Plan of Reorganization of Chesapeake

Energy Corporation and Its Debtor Affiliates [Docket No. 3058]. Pursuant to the Plan and the

Confirmation Order, the Reorganized Debtors assumed the JOAs and the Settlement Agreement

(both as defined below) on the Effective Date.

        14.     On March 8, 2021, Epsilon filed the Epsilon Reservation.




3
    Fourth Amended Plan Supplement for the Fifth Amended Joint Chapter 11 Plan of Reorganization of Chesapeake
    Energy Corporation and Its Debtor Affiliates [Docket No. 3135].

4
    Fifth Amended Joint Chapter 11 Plan of Reorganization of Chesapeake Energy Corporation and Its Debtor
    Affiliates [Docket No. 2833].



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II.       The District Court Litigation.

          15.     On March 10, 2021—one month after the Effective Date—Epsilon commenced the

District Court Litigation by filing a Verified Complaint (the “Complaint”)5 in the District Court

against Reorganized Debtor Chesapeake Appalachia. In its Complaint, Epsilon alleges that

Chesapeake Appalachia breached a 2018 settlement agreement (the “Settlement Agreement”) and

certain joint operating agreements (the “JOAs”) by refusing to cooperate with Epsilon on the

development of certain proposed wells.                Epsilon seeks monetary damages and specific

performance for the alleged breach, as well as declaratory and injunctive relief.

          16.     The Reorganized Debtors deny the allegations of breach made in the Complaint.

However, this Court need not reach the merits of the District Court Litigation because Epsilon’s

claims—which are based on pre-Effective Date conduct—were discharged by the Plan and the

Confirmation Order.

          17.     Accordingly, the Court should enforce the Confirmation Order and require Epsilon

to immediately dismiss the District Court Litigation with prejudice with respect to pre-Effective

Date claims and bar Epsilon from asserting any pre-Effective Date claims against any of the

Reorganized Debtors.

                                               Basis for Relief

I.        Epsilon’s Claims Were Discharged by the Plan and the Confirmation Order.

          18.     The purpose of a chapter 11 reorganization is to afford the debtor a “fresh start,”

free from “the pressure and discouragement of preexisting debt.” Grogan v. Garner, 498 U.S.

279, 286 (1991); see also State of Ohio v. Mansfield Tire and Rubber Co., 660 F.2d 1108, 1113




5
      A copy of the redacted Complaint is attached hereto as Exhibit A. The District Court approved the redacted
      Complaint to, inter alia, protect confidential information. See District Court Litigation, ECF No. 4.



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(6th Cir. 1981) (noting that the purpose of reorganization under the Bankruptcy Code is to give

the debtor “a breathing spell so that it can adjust and compromise its debts”). This “fresh start” is

effectuated through an order issued pursuant to section 1141(d)(1)(A) of the Bankruptcy Code

confirming a debtor’s bankruptcy plan, which generally discharges all debts arising prior to

confirmation.

       19.      Section 1141(d) of the Bankruptcy Code provides that “the confirmation of a

plan . . . discharges the debtor from any debt that arose before the date of such confirmation . . .

whether or not—(i) a proof of claim based on such debt is filed or deemed filed under section 501

of this title; (ii) such claim is allowed under section 502 of this title; or (iii) the holder of such

claim has accepted the plan.” 11 U.S.C. § 1141(d)(1)(A). Mirroring section 1141(d) of the

Bankruptcy Code, Article VIII.A of the Plan provides for a discharge of all Claims of any nature

whatsoever arising prior to the Effective Date:

                Pursuant to section 1141(d) of the Bankruptcy Code, and except as
                otherwise specifically provided in the Plan, or in any contract,
                instrument, or other agreement or document created pursuant to the
                Plan, the distributions, rights, and treatment that are provided in
                the Plan shall be in complete satisfaction, discharge, and release,
                effective as of the Effective Date, of Claims (including any
                Intercompany Claims resolved or compromised after the Effective
                Date by the Reorganized Debtors), Interests, and Causes of Action
                of any nature whatsoever, including any interest accrued on Claims
                or Interests from and after the Petition Date, whether known or
                unknown, against, liabilities of, Liens on, obligations of, rights
                against, and interests in, the Debtors or any of their assets or
                properties, regardless of whether any property shall have been
                distributed or retained pursuant to the Plan on account of such
                Claims and Interests, including demands, liabilities, and Causes of
                Action that arose before the Effective Date, any liability (including
                withdrawal liability) to the extent such Claims or Interests relate to
                services performed by employees of the Debtors prior to the
                Effective Date and that arise from a termination of employment, any
                contingent or noncontingent liability on account of representations
                or warranties issued on or before the Effective Date, and all debts of
                the kind specified in sections 502(g), 502(h), or 502(i) of the



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               Bankruptcy Code, in each case whether or not: (1) a Proof of
               Claim or Proof of Interest based upon such debt, right, or Interest
               is Filed or deemed Filed pursuant to section 501 of the Bankruptcy
               Code; (2) a Claim or Interest based upon such debt, right, or
               interest is Allowed pursuant to section 502 of the Bankruptcy
               Code; or (3) the holder of such a Claim or Interest has accepted
               the Plan.

See Plan Art. VIII.A (emphasis added); see also Confirmation Order, ¶ 91. The Plan further

provides that “[t]he Confirmation Order shall be a judicial determination of the discharge of all

Claims (other than the Reinstated Claims) and Interests (other than the Intercompany Interests that

are Reinstated) subject to the occurrence of the Effective Date.” See Plan Art. VIII.A.

       20.     The Plan also specifically discharges all Claims or defaults arising under Assumed

Executory Contracts upon assumption:

               Assumption of any Executory Contract or Unexpired Lease shall
               result in the full release and satisfaction of any Claims or defaults,
               whether monetary or nonmonetary, including defaults of provisions
               restricting the change in control or ownership interest composition
               or other bankruptcy-related defaults, arising under any Assumed
               Executory Contract or Unexpired Lease at any time before the
               effective date of assumption. Any Proofs of Claim Filed with
               respect to an Assumed Executory Contract or Unexpired Lease shall
               be deemed disallowed, without further notice to or action, order, or
               approval of the Bankruptcy Court.

See Plan Art. V.C (emphasis added); see also Confirmation Order, ¶ 47.

       21.     As described in more detail below, the effective date of assumption for the JOAs

and the Settlement Agreement is the Effective Date. See Confirmation Order, ¶ 156 (“For the

avoidance of doubt, on the Effective Date, except as otherwise provided in the Plan or this

Confirmation Order, any Executory Contract or Unexpired Lease of the Debtors will be deemed

to be an Assumed Executory Contract or Unexpired Lease . . .”) (emphasis added).

       22.     Although section 1141(d) of the Bankruptcy Code cannot discharge amounts in

default under assumed contracts in a manner that would nullify the cure requirement of



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section 365(b)(1), see In re National Gypsum Co., 208 F.3d 498, 510 (5th Cir 2000), the

Reorganized Debtors have satisfied their cure obligations with respect to Epsilon. The Plan and

the Confirmation Order provide:

              Any monetary defaults under each Assumed Executory Contract or
              Unexpired Lease shall be satisfied, pursuant to section 365(b)(1) of
              the Bankruptcy Code, by payment of the default amount in Cash on
              the Effective Date, or as soon as reasonably practicable thereafter,
              subject to the limitations described in Article V.C of the Plan, or on
              such other terms as the parties to such Executory Contracts or
              Unexpired Leases may otherwise agree.

See Confirmation Order, ¶ 47; Plan Art. V.C. Section 365(b)(1) of the Bankruptcy Code provides

that a debtor may not assume a contract on which a default exists unless the default is cured.

11 U.S.C. 365(b)(1). As discussed below, the Reorganized Debtors believe that no defaults exist

under the JOAs and the Settlement Agreement, and thus did not include a cure amount for these

contracts.

       A.     The Claims at Issue in the District Court Litigation Arose Before the Effective
              Date.

       23.    In its Complaint, Epsilon seeks monetary damages and specific performance, as

well as declaratory and injunctive relief, for alleged breach of contract claims. Epsilon alleges

Chesapeake Appalachia breached the JOAs and the Settlement Agreement by “refus[ing] to

cooperate so that Epsilon can proceed with the development of the Proposed Wells . . . .” See

Complaint, ¶ 108. Specifically, Epsilon alleges that on January 19, 2021, Chesapeake Appalachia

advised Epsilon that: (a) Chesapeake Appalachia would not participate in the wells proposed by

Epsilon on December 22, 2020; (b) Chesapeake Appalachia would not act as operator; (c) Epsilon




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was not permitted to serve as operator; and (d) Chesapeake Appalachia would not grant Epsilon

access to the well pad to drill the proposed wells. Id. at ¶ 77.6

        24.      Notably, the conduct giving rise to the alleged breach occurred on January 19, 2021,

twenty-one days before the occurrence of the Effective Date on February 9, 2021. Further, the

Epsilon Reservation filed on March 8, 2021—two days before Epsilon commenced the District

Court Litigation—is an admission that the claims at issue in the District Court Litigation arose

before the Effective Date. In its reservation, Epsilon alleges that “in violation of the JOAs and the

Settlement Agreement, [Chesapeake Appalachia] refused to cooperate in conjunction with

Epsilon's drilling of certain wells.” See Epsilon Reservation, ¶ 4. Epsilon then notes that “[t]o the

extent that Epsilon is forced to seek monetary relief for damages resulting [from] such refusal by

Chesapeake, Epsilon hereby files this reservation of rights ahead of the March 11, 2021

Administrative Claims Bar Date as a protective measure to preserve its ability to do so.” See id.,

¶ 5. The Plan and the Confirmation Order do not bar claims arising after the Effective Date.

However, Epsilon sought to protect its right to file an administrative claim, which accrues during

the chapter 11 case (between the Petition Date and the Effective Date), acknowledging that the

claims related to Chesapeake Appalachia’s alleged “violation of the JOAs and the Settlement

Agreement”—i.e., claims at issue in the District Court Litigation—arose before the Effective Date.

See, e.g., Epsilon Reservation, ¶ 4.

        25.      Accordingly, the claims related to the JOAs and the Settlement Agreement asserted

by Epsilon in the District Court Litigation arose prior to the Effective Date, and thus were

discharged by the Plan and the Confirmation Order, as set forth below.



6
    Epsilon alleges that Chesapeake Appalachia maintained this position during subsequent interactions, including
    on February 11, 2021. Id. at ¶ 83.



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        B.       Because Epsilon Received Adequate Notice of and Did Not Object to the
                 Assumption of and Cure for the JOAs and the Settlement Agreement, Epsilon
                 Is Deemed to Have Consented to the Assumption of and Cure for the
                 Agreements.

        26.      On the Effective Date, the JOAs were assumed via the Assumed Executory

Contracts and Unexpired Leases Schedule attached to the Plan Supplement. All of the JOAs were

scheduled with no cure amount owed.7

        27.      The Settlement Agreement is deemed assumed on the Effective Date pursuant to

the Plan, which provides that “Executory Contracts or Unexpired Leases not otherwise assumed

or rejected will be deemed assumed . . . .” See Plan Art. V.A. The Confirmation Order further

provides:

                 The provisions governing the treatment of Executory Contracts and
                 Unexpired Leases set forth in Article V of the Plan (including the
                 procedures regarding the resolution of any and all disputes
                 concerning the assumption or rejection, as applicable, of such
                 Executory Contracts and Unexpired Leases) shall be, and hereby
                 are, approved in their entirety. For the avoidance of doubt, on the
                 Effective Date, except as otherwise provided in the Plan or this
                 Confirmation Order, any Executory Contract or Unexpired Lease
                 of the Debtors will be deemed to be an Assumed Executory
                 Contract or Unexpired Lease in accordance with the provisions and
                 requirements of sections 365 and 1123 of the Bankruptcy Code,
                 other than those Executory Contracts or Unexpired Leases that are:
                 (a) identified on the Rejected Executory Contracts and Unexpired
                 Leases Schedule; (b) previously expired or terminated pursuant to
                 their own terms; (c) have been previously assumed or rejected by
                 the Debtors pursuant to a Final Order; (d) are the subject of a motion
                 to reject that is pending on the Effective Date; or (e) have an ordered
                 or requested effective date of rejection that is after the Effective
                 Date.




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    With respect to each JOA, the cure is listed as “$--” in the Plan Supplement.



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See Confirmation Order, ¶ 156 (emphasis added). Because the Reorganized Debtors did not

otherwise assume or reject the Settlement Agreement during the course of the chapter 11 cases,

the agreement is deemed assumed.

       28.     The Debtors provided Epsilon with adequate notice of their intent to assume the

JOAs and the Settlement Agreement with a $0 cure. Notice is sufficient when it is “reasonably

calculated, under all circumstances, to apprise interested parties of the pendency of the action and

afford them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust

Co., 339 U.S. 306, 314 (1950). The Fifth Circuit has held that “if a creditor receives actual notice

of the debtors’ bankruptcy, due process is satisfied and the creditor is bound by the terms of any

plan of reorganization confirmed by the bankruptcy court.” See Ranger Ins. Co. v. Wolcott (In re

TLI, Inc.), 1998 WL 684242, at *5 (N.D. Tex. Sept. 25, 1998).

       29.     Epsilon received actual notice of the Notice of Deadlines for the Filing of Proofs of

Claim, Including Requests for Payments Under Section 503(b)(9) of the Bankruptcy Code, see

Affidavit of Service [Docket No. 1254], the Notice of Hearing to Consider Confirmation of the

Chapter 11 Plan Filed by the Debtors and Related Voting and Objection Deadlines, see Affidavit

of Service [Docket No. 2034], the Notice of (I) Executory Contracts and Unexpired Leases to be

Assumed by the Debtors Pursuant to the Plan, (II) Cure Amounts, if Any, and (III) Related

Procedures in Connection Therewith, see Affidavit of Service [Docket No. 2577], the Notice of

Entry of Order Confirming the Fifth Amended Joint Chapter 11 Plan of Reorganization of

Chesapeake Energy Corporation and Its Debtor Affiliates, see Affidavit of Service [Docket

No. 3210], and the fourth amended Plan Supplement, see Affidavit of Service [Docket No. 3276].

       30.     In light of the foregoing, Epsilon received adequate notice of the proposed

assumption of and cure for the JOAs and the Settlement Agreement, as well as the commencement




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of these chapter 11 cases, the bar dates, and the existence of—and deadlines for objecting to—the

Plan.

         31.   After receiving sufficient notice, Epsilon did not object to the assumption of the

JOAs and the Settlement Agreement or contest the proposed $0 cure cost. The Plan specifically

provides:

               Any objection by a contract or lease counterparty to a proposed
               assumption of an Executory Contract or Unexpired Lease or the
               related cure cost (including as set forth on the Assumed Executory
               Contracts and Unexpired Leases Schedule) must be Filed, served,
               and actually received by the Debtors in accordance with the
               Disclosure Statement Order or other applicable Final Order of the
               Bankruptcy Court.

See Plan Art. V.C (emphasis added).

         32.   By failing to object, Epsilon is deemed to have consented to the assumption and

proposed $0 cure, see id. (“Any counterparty to an Executory Contract or Unexpired Lease that

fails to object timely to the proposed assumption or cure amount will be deemed to have consented

to such assumption or proposed cure amount.”) (emphasis added), even where the Debtors did

not list a cure amount, id. (“For the avoidance of doubt, to the extent an Executory Contract or

Unexpired Lease proposed to be assumed is not listed as having a related cure cost, any

counterparty to such Executory Contract or Unexpired Lease that fails to object timely to the

proposed assumption will be deemed to have consented to such assumption and deemed to

release any Claim or Cause of Action for any monetary defaults under such Executory Contract

or Unexpired Lease.”) (emphasis added).

         33.   Accordingly, the claims related to the JOAs and the Settlement Agreement asserted

by Epsilon in the District Court Litigation were discharged upon assumption of the JOAs and the

Settlement Agreement on the Effective Date because: (a) the claims at issue arose before the

Effective Date; (b) Epsilon received adequate notice of the Debtors’ proposed assumption of and


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cure for the JOAs and the Settlement Agreement; and (c) by failing to object to the proposed

assumption and proposed cure, Epsilon is deemed to have consented to both.

II.    Epsilon Is Enjoined from Continuing the District Court Litigation with Respect to
       Pre-Effective Date Claims.

       34.     Despite the discharge described above, Epsilon filed the District Court Litigation,

asserting pre-Effective Date claims against Reorganized Debtor Chesapeake Appalachia, in

violation of the discharge injunction and section 524(a) of the Bankruptcy Code.

       35.     To implement the discharge under section 1141 of the Bankruptcy Code,

section 524(a)(2) of the Bankruptcy Code provides that “[a] discharge in a case under this

title . . . operates as an injunction against the commencement or continuation of an action, the

employment of process, or an act, to collect, recover or offset any such debt as a personal liability

of the debtor, whether or not discharge of such debt is waived . . . .” 11 U.S.C. § 524(a)(2).

Consistent with this provision, the Confirmation Order provides that the releases, injunctions,

exculpations, discharges, and related provisions set forth in Article VIII of the Plan are

incorporated into the Confirmation Order, are approved and authorized in all respects, and shall

be immediately effective on the Effective Date. See Confirmation Order, ¶ 90. Additionally, with

respect to the discharge, the Plan provides:

               Except as otherwise expressly provided in the Plan or the
               Confirmation Order or for obligations issued or required to be paid
               pursuant to the Plan or the Confirmation Order, all Entities who
               have held, hold, or may hold Claims or Interests that have been
               released, discharged, or are subject to exculpation are
               permanently enjoined, from and after the Effective Date, from
               taking any of the following actions against, as applicable, the
               Debtors, the Reorganized Debtors, the Exculpated Parties, or the
               Released Parties: (1) commencing or continuing in any manner
               any action or other proceeding of any kind on account of or in
               connection with or with respect to any such Claims or Interests;
               (2) enforcing, attaching, collecting, or recovering by any manner or
               means any judgment, award, decree, or order against such Entities
               on account of or in connection with or with respect to any such


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               Claims or Interests; (3) creating, perfecting, or enforcing any
               encumbrance of any kind against such Entities or the property or the
               Estates of such Entities on account of or in connection with or with
               respect to any such Claims or Interests; (4) asserting any right of
               setoff, subrogation, or recoupment of any kind against any
               obligation due from such Entities or against the property of such
               Entities on account of or in connection with or with respect to any
               such Claims or Interests unless such holder has Filed a motion
               requesting the right to perform such setoff on or before the Effective
               Date, and notwithstanding an indication of a Claim or Interest or
               otherwise that such holder asserts, has, or intends to preserve any
               right of setoff pursuant to applicable law or otherwise; and
               (5) commencing or continuing in any manner any action or other
               proceeding of any kind on account of or in connection with or with
               respect to any such Claims or Interests released or settled pursuant
               to the Plan.

See Plan Art. VIII.F (emphasis added).

       36.     Accordingly, Epsilon is permanently enjoined from pursuing any pre-Effective

Date claims against the Reorganized Debtors, including Reorganized Debtor Chesapeake

Appalachia.

                                           Conclusion

       37.     Epsilon’s pre-Effective Date claims were discharged and enjoined under the Plan

and the Confirmation Order. Despite the discharge, Epsilon proceeded to pursue these claims

against Reorganized Debtor Chesapeake Appalachia in the District Court Litigation in violation of

this Court’s permanent injunction. The Reorganized Debtors respectfully request that the Court

enter an order (a) enforcing the injunction provisions of the Plan and the Confirmation Order, and

(b) directing Epsilon to immediately dismiss the District Court Litigation with prejudice with

respect to pre-Effective Date claims.

                                   Emergency Consideration

       38.     Pursuant to Local Rule 9013-1, the Reorganized Debtors respectfully request

emergency consideration of this motion. A status conference in the District Court Litigation is



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scheduled for March 26, 2021. Emergency relief is necessary to prevent the District Court

Litigation from proceeding further without this Court’s guidance.

                                              Notice

       39.     The Reorganized Debtors will provide notice of this motion to: (a) the United

States Trustee for the Southern District of Texas; (b) Epsilon; and (c) any party that has requested

notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, no other or

further notice need be given.


                           [Remainder of page intentionally left blank.]




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        WHEREFORE, the Reorganized Debtors respectfully request that the Court enter the

order, granting the relief requested herein and such other relief as the Court deems appropriate

under the circumstances.


Houston, Texas
March 24, 2021

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                           KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)      KIRKLAND & ELLIS INTERNATIONAL LLP
Kristhy M. Peguero (TX Bar No. 24102776)        Patrick J. Nash, Jr., P.C. (admitted pro hac vice )
1401 McKinney Street, Suite 1900                Alexandra Schwarzman (admitted pro hac vice)
Houston, Texas 77010                            300 North LaSalle Street
Telephone:      (713) 752-4200                  Chicago, Illinois 60654
Facsimile:      (713) 752-4221                  Telephone: (312) 862-2000
Email:          mcavenaugh@jw.com               Facsimile: (312) 862-2200
                kpeguero@jw.com                 Email:        patrick.nash@kirkland.com
                                                              alexandra.schwarzman@kirkland.com


Co-Counsel to the Reorganized Debtors           Co-Counsel to the Reorganized Debtors




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                                    Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Local Rule 9013-1(i).

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh



                                     Certificate of Service

        I certify that on March 24, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                            EXHIBIT A

                             Complaint
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            '     IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 EPSILON ENERGY USA,INC.,

                 Plaintiff,
                                                  CIVIL ACTION NO.
 V.

 CHESAPEAKE APPALACHIA,LLC,

                Defendant.


                              VERIFIED COMPLAINT

      Plaintiff Epsilon Energy USA,Inc.("Epsilon"), by and through its attorneys,

files this Verified Complaint against Defendant Chesapeake Appalachia, LLC

("CHK")and alleges as follows:

                                       PARTIES

       1.       Epsilon is an Ohio corporation with its principal place of business in

Houston, Texas.

      2.        The citizenship of a corporation is determined by its state of

incorporation and the location of its principal place of business. See 28 U.S.C.

§ 1332(c)(1).

      3.        Thus, Epsilon is a citizen of Texas and Ohio.

      4.        CHK is an Oklahoma limited liability company with its principal place

of business in Oklahoma City, Oklahoma.
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       5.     CHK's sole member is Chesapeake Energy Corporation, an Oklahoma

 corporation with a principal place of business in Oklahoma City, Oklahoma.

       6.     Chesapeake Energy Corporation is an Oklahoma citizen.

       7.     The citizenship of a limited liability company is determined by the

 citizenship of its members. See Lincoln Ben. Life Co. v. AEILife, LLC,800 F.3d 99,

 105(3d Cir. 2015)(citing Zambelli Fireworks. Mfg. Co. v. Wood,592 F.3d 412,420

(3d Cir. 2010); Johnson v. SmithKline Beecham Corp., 724 F.3d 337, 348 (3d Cir.

2013)).

       8.     CHK is therefore a citizen of Oklahoma.

                          JURISDICTION AND VENUE

       9.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332

 because there is diversity of citizenship between Epsilon and CHK and the amount

in controversy exceeds $75,000, excluding interest and costs. 28 U.S.C. § 1332(a).

       10.    Venue for this matter lies in this District pursuant to 28 U.S.C. § 1391

because (1) a substantial part of the events or omissions giving rise to Epsilon's

claims took place in this District and(2)the property that is the subject ofthis action

is located within this District in Susquehanna County, Pennsylvania. 28 U.S.C.

§ 1391(b)(2).

       1 1.   An actual controversy exists between the parties hereto within the

 meaning of 28 U.S.C. § 2201, et seq, with respect to CHK's duties under certain


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 Joint Operating Agreements ("JOAs") that it entered into with Epsildn and other

 parties.

                           FACTUAL BACKGROUND

 A. " The Joint Operating Agreements

       12.    Beginning in 2009, Epsilon and CHK, along with other oil and gas

 companies(each a "JOA Party" and collectively the "JOA Parties"), began entering

 into JOAs for drilling units covering acreage subject to oil and natural gas leases

 which had been(or would be)combined for the purposes ofnatural gas development.

      . 13:   Epsilon and CHK are paities, among other entities, to an Operating

 Agreement dated October 18, 2010 for the Baltzley North Unit ("Baltzley North

 JOA"). A true and correct copy is attached hereto as Exhibit 1.

       14.    Epsilon and CHK are parties, among other entities, to an Operating

 Agreement dated October 18, 2010 for the Baltzley South Unit ("Baitzley South

 JOA").-A tfue and correct Copy-is attached hereto as Exhibit 2.

       15.    Epsilon and CI-1K are parties, among other entities, to an Operating

 Agreement dated December .16, 2010 for the' Craige Unit ("Craige JOA"). A true

 and correct copy is attached hereto as Exhibit 3.

     • 16.    Epsilon and CHK are parties to a Farmout Agreement dated February

 1 2010, which covers the Blanche Poulsen North and Blanche Poulsen South Units

("Poulsen Units") and incorporates a draft model JOA that applies to'those units


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("Poulsen JOA"). A true and correct copy of the Farmout Agreement is attached

hereto as Exhibit 4, the Poulsen JOA appears in Schedule 7.1.2, at 61.

        17.   As part of the JOAs, Epsilon and CHK agreed to contribute their

interests in oil and gas leases and to jointly,develop those leases as.drilling units

within the geographical areas set forth in the JOAs.•

   •    18.   Each JOA identifies each JOA Party's'working interest thereunder..

        19.   Each of the JOAs at issue herein ,covers a different pooled unit, which

is identified as the "Contract Area." Exhibit,1,•Baltz1ey North.JOA, Article I.C.;

Exhibit 2, Baltzley. South JOA, Article. I.C; Exhibit 3; Craige JOA, Article I.C;

Exhibit 4,Poulsen JOA, Article I.C. •

       20.    Each JOA is a stand-alone document for each specific asset or Unit.

       21. ..Any JOA Party is entitled to propose the'drilling and completion of a

well ("Well.Proposal"). Exhibit 1, Baltzley North JOA,. Article VIA ; Exhibit 2,

Baltzley South JOA, Article VI.1; Exhibit 3, Craige JOA, Article W.1; Exhibit 4,

Poulsen JOA, Article VIA.                                          •

       22. • Upon receipt of the:Well Proposal, the.other JOA,Parties.are,required

to elect whether they will consent to participate with their;working interests.(and

thereby pay a pro rata share ofthe costs of deyeloping the well): Exhibit 1, Baltzley

North JOA, Article VI.1; Exhibit.2; Baltzley South JOA, Article VI.1; Exhibit 3,

Craige JOA, Article VI.1; Exhibit 4,Poulsen JOA, Article VI 1:                  ,
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  •   23.    If any JOA Party wishes to propose operations that conflict with the

Well Proposal, it has 30 days to ,propose those conflicting operations. Exhibit 1,

Baltzley North JOA, Article VI.6;'Exhibit 2, Baltzley 'South JOA, Article VI.6;

Exhibit 3, Craige JOA, Article VI.6; Exhibit 4,Poulsen JOA, Article VI.6.

      24.    Under each JOA, the JOA Parties designated CHK to serve as the

default operator for wells drilled thereunder. Exhibit 1, Baltzley North JOA, Article

V.A.; Exhibit'2, Baltzley South JOA, Article V.A,- Exhibit 3, Craige JOA; Article

V.A; Exhibit 4, Poulsen JOA, Article V.A.

      25.   IfCHK elects not to participate in a Well Proposal and declines to serve

as the operator, one of the consenting JOA Parties may serve as the operator for that

well. Exhibit 1,Baltzley North JOA; Article VI.2(a); Exhibit 2,Baltzley South•JOA,

Article VI.2(a);'Exhibit- 3, Craige JOA, Article VI.2(a); Exhibit 4, Poulsen JOA,

Article VI.2(a).

      26.   If less than all JOA Parties elect to participate, the proposing party is

required to notify the- Other consenting JOA 'Parties of the working interests

consenting and whether the proposing party recommends proceeding with the Well

Proposal. Exhibit 1, Baltzley North JOA, Article VI.2(a); Exhibit 2, Baltzley South

JOA, Article VI.2(a); Exhibit 3, Craige JOA, Article VI.2(a); Exhibit 4, Poulsen

JOA,Article VI.2(a).




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       27.    The consenting JOA Parties may participate with their proportionate

share of working interest that are not yet participating. Exhibit 1, Baltzley North

 JOA, Article VI.2(a); Exhibit 2, Baltzley'South JOA,, Article VI.2(a); Exhibit 3,

Craige JOA, Article VI.2(a); Exhibit 4, Poulsen JOA, Article VI.2(a).

       28.    If the proposing party* does, not withdraw the Well Proposal, the

proposing party,is deemed to be participating with any outstanding interests needed

to.equal 100 percent participation. Exhibit 1, Baltzley North,JOA, Article VI.2(a);

Exhibit 2, Baltzley South JOA, Article , VI.2(a); Exhibit 3, Craige JOA, Article

 VI.2(a); Exhibit 4,Poulsen JOA, Article VI.2(a).

       29.    Once 100 percent participation is reached, the JOA Party serving as the

operator will commence operations in accordance with the Well Proposal. Exhibit

 1 Baltzley North JOA, Article VI.2(a); Exhibit 2, Baltzley South JOA, Article

 VI.2(a); Exhibit 3, Craige JOA, Article VI.2(a); Exhibit 4, Poulsen,JOA, Article

 VI.2(a).

      . 30.   Article XVI of.the JOAs sets forth the requirements for a proposal to

drill a horizontal well. ,

       31.    In order to fulfill,those requirements, a party proposing a horizontal

 well must include: "(1) the estimated commencement date,(2).the proposed depth,

(3) the objective formation or formations to be penetrated or tested; (4) the

 Authorized Objective, the surface and bottomhole locations, proposed directional


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 operations; and (5) the estimated costs of the operation, including, but not limited

 to, the estimated costs of drilling, testing, and Completing or abandoning the well.

 Operator's estimate of Completion costs should be included as an informational

 item." Exhibit 1, Baltzley North JOA,Article XVI.A.2(a); Exhibit 2, Baltzley South

 JOA, Article XVI.A.2(a); Exhibit 3, Craige JOA, Article XVI.A.2(a); Exhibit 4,

 Poulsen JOA, Article XVI.A.2(a).

       32.   The JOAs contain a section entitled Order of Preference of Operations

 setting forth the protocol if JOA Parties submit conflicting proposals and cannot

 agree upon the manner in which to proceed with a proposed operation. Exhibit 1,

 Baltzley North JOA, Article XVI.A.2(b);. Exhibit 2, Baltzley South JOA, Article

 XVI.A.2(b); Exhibit 3, Craige JOA, Article XVI.A.2(b);'Exhibit 4, Poulsen JOA,

 Article XVI.A.2(b).

       33.   Article XVI states "In the event of a conflict of inconsistency between

 the provisions of this Article XVI and any other provisions of this Agreement, the

Provisions ofthis Article XVIshall control andprevail." Exhibit 1, Baltzley North

. JOA, Article XVI:E (emphasis added); Exhibit 2, Baltzley South JOA, Article

. XVI.E; Exhibit 3; Craige "JOA; Article ,XVI.E; Exhibit 4, Poulsen JOA, Article

 XVI.E.




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B.     The Settlement Agreement

      .34.   In September 2018,Epsilon filed a complaint against CHK in this Court

styled as Epsilon Energy USA,Inc. v. Chesapeake Appalachia, L.L.C., No. 3:18-cv-

01852.

       35.   Among the allegations in that lawsuit, Epsilon asserted that CHK failed

to follow the election processes in the JOAs at issue (which included the Baltzley

South and Baltzley North JOAs)in order to thwart Epsilon's efforts to propose and

drill new wells.

      36.    Epsilon sought declaratory and injunctive relief, among other demands

for relief,,and filed a motion for preliminary injunction.

      37.    Before •an injunction hearing occurred, the parties settled the dispute.

A true and correct copy ofthe Settlement Agreement and Release entered on October

8,2018("Settlement Agreement") is attached here as Exhibit 5.

 •   , 38. • In the Settlement Agreement, MC explicitly agreed:




Exhibit 5, at ¶J 8, 8(d).


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      39:    Accordingly



      40.    CHK further agreed that,




      Ownership of Subsurface and Surface Rights

    • 41.   Upon information and belief, CHK has obtained surface and subsurface

easements for the estates that are subject to the Baltzley North; Baltzley South,

Craige, Poulsen North, and Poulsen South Units.

•     42 , Under the JOAs,if any party owns or acquires an oil and gas interest in

the estates subject to the Baltzley North; Baltzley South, Craige, Poulsen;North, and

Poulsen South Units, the interest is treated as. ifit were covered by the Oil and Gas

Lease attached as an exhibit to the JOAs. EXhibit 1, Baltzley North JOA;Article III;

Exhibit 2,Baltzley South JOA,Article III; Exhibit 3, Craige JOA,Article III; Exhibit

4,Poulsen JOA, Article III.                    ;



      43.    Oil and gas interest is a defined term that "shall mean'unleasedfee and

mineral interest in Oil and Gas in tracts of land lying with the Contract Area•vvhich

are owned by parties to this Agreement." Exhibit 1, Baltzley North JOA,Exhibit B.;


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Exhibit 2, Baltzley South JOA,Exhibit B; Exhibit 3, Craige JOA,Exhibit B; Exhibit

4,Poulsen JOA,Exhibit B.

      44: .The exemplar lease attached to the JOAs provides broad rights to the

subsurface and surface rights "as.may be necessary or convenient. .. to explore for,
                                      •


develop produce, measure, and market production from the Leasehold, and from

adjoitiing lands....tb drill, Maintain,operate ... wells; to use or install roads, electric

power .. . and to Construct pipelines with appurtenant facilities. . . to use oil, gas

and non-domestic water sources, free of cost . . ; to operate, maintain, repair and

remove material and equipment." Exhibit 1, Baltzley North JOA,Exhibit B; Exhibit

2, Baltzley South JOA, Exhibit B; Exhibit 3, Craige JOA, Exhibit B; Exhibit 4,

Poulsen JOA, Exhibit B.

      45.    Moreover, the JOAs require that CHK permit a Non-Operator (such as

Epsilon) or its duly authorized representative "full and free access at all reasonable

times to all operations of every kind and character being conducted for the joint

account on the Contract Area." Exhibit 1 Baltzley., North JOA, Article V.D.5;

Exhibit 2, Baltzley South JOA,Article V.D.5; Exhibit 3, Craige JOA,Article V.D.5;

Exhibit 4,Poulsen JOA, Article V.D.5.

      46.    Accordingly, if any JOA Party obtains an easement or other right to use

property within a JOA's Contract Area,the other JOA Parties have the same right to

use that property.


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       47.   Finally, the JOAs expressly state that, while all parties "shall be free to

 act on an arm's-length -basis in acordance with their own,respective self-interest,

[that freedom is] subject, however,to the obligation of*parties to act m good faith

.in their dealings with each other with respect to activities hereunder." Exhibit .1,

Baltzley North JOA, Article VLT.A; Exhibit 2, Baltzley South JOA, Article VILA;

Exhibit 3, Craige JOA, Article VILA; Exhibit 4,Poulsen JOA;Article VII.A.

D.     Ownership of Water Rights

       48.   In February 2016,CHK and Aubmarc Properties,LLC("Aubmarc")—

 a wholly owned subsidiary of Epsilon          entered a Purchase and Sale Agreement

("PSA"). An accurate and correct copy of relevant parts of the PSA is attached as

Exhibit 6:

       49.   Under the. PSA, Aubmarc agreed to purchase certain properties (the

``Properties") from CHK. Id. at Art. 2,0. 21.

       50.   Properties specifically included




                                                       ." Id. at Art.' 1, p: 14.




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      51.    Aubmarc • purchased the Properties subject to any




                                     ." Id. at Art. 1, p. 13.

      52.

                                         Id. at Exhibit A.

      53.    The Wyalusing Creek surface water withdrawal is the water source for

the Craige well pad. See Exhibit 7, SRBC Commitment Letter.

      54.    The JOAs require that "any[]facility necessary for the operation and

development of the Contract Area shall be included as an integral part of any

proposed operation made under Article VI.B of this Agreement . . . . Facility

includes, but is not limited to... water handling and disposal facilities located within

the Contract Area and specifically, applicable to the proposed operation." Exhibit 1,

Baltzley North JOA,Article kVI.B (Gathering'.Lines/Facilities);Exhibit 2, Baltzley

South JOA, Article XVI.B. Exhibit 3,.Craige JOA; Article' X'VI.B; Exhibit 4,

Poillsen• JOA, Article VI.B.

      55.    The parties to. the JOAs are required to pay their"Pro:rata share of the

expenses associated with the building, repairs, and use of the Water,facilities in: the

Contract Area and CHK is subject to accounting audits to ensure that parties are


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accurately billed for such expenses. 'See Exhibit 1, Baltzley North JOA, Article

VILA (Liability of Parties); Exhibit 2, Baltzley South JOA, Article VILA; Exhibit

3, Craige JOA, Article VILA; Exhibit 4,Poulsen JOA, Article VII. A ("Each party.

. .• shall be liable only for its proportionate share of the costs of developing and

operating the Contract Area.").

     • 56.    Accordingly, the JOA Parties    including Epsilon — have paid their

pro rata share of the costs associated with the use and maintenance of the Water

Facilities.                                                       *




E.     The Proposed Wells

       57.    In May 2020,Epsilon began discussidns with CHK regarding new well

proposals that would advance Epsilon's goals of growth and production. in the

Auburn Development. Exhibit 8, May 12, 2020, H. Clanton to J. Woodard.

      58.     In conjunction with these discussions, Epsilon shared its ideas for

proposed wells at the Craige Pad, located in Rush Township, Susquehanna County,

Pennsylvania. Exhibit 8, May 26, 2020, H: Clanton to J. Woodard.

      59.     Throughout June 2020, the parties continued to discuss the design and

spacing of the wells that Epsilon desired to drill. Exhibit 8, May-June 2020 E-mail

Discussions, H. Clanton and J. Woodard.




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      60.   After an exchange between the parties regarding permitting, CHK

requested further information on how Epsilon proposed to operate the wells. Exhibit

8, September 28, 2020, J. Woodard to H. Clanton,

      61.   Epsilon responded that it was "less interested in who ,operates the

proposed program as long as we believe quality, safety and costs are controlled. We

are prioritized on developing the Marcellus reserves in. Auburn and the larger

resource for the .benefit of our shareholders." Exhibit 8, September 28, 2020, H.

Clanton to J. Woodard.

      62.   Epsilon continued:

      As we understand the JOA,CHK has the following options when well
      proposals are made by others. CHK can; consent and operate, non-
      consent but .operate at,the consenting parties request; or decline to
      operate. In a scenario where CHK elects not to participate and declines
      to operate, the consenting party or parties have the right to operate. ,We
      need to understand how CHK would transfer operatorship and
      cooperate with the designated operator, no matter whom:

      An alternative approach could be to have one of the consenting parties
      serve as contract operator (drill/complete/flowback/turn-over to CHK
      @ TIL) with CHK remaining the operator ofrecord.

      Again, thank you for your attention to the resolution ofthis matter. We
      understand development in Auburn may not be a priority to CHK both
      from a manpower resources and commercial perspective, however it is
      obviously important to EPSN.

Exhibit 8, September 28, 2020, H. Clanton to J. Woodard.

      63.   After this exchange, the parties discussed various options for how to

move forward with Epsilon's suggested wells. However, it became apparent to

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Epsilon.that CHK was not interested in'proceeding with the development of those

Wells. Exhibit 8, September 29,2020-October 14, 2020, H:Clanton to J. Woodard.

      64.   On October 14, 2020, Epsilon advised CHK that_Epsilon intended to

Move •forward with the wells that Epsilon had suggested to .ensure it could meet

permitting timelines for those wells. Exhibit 8, October 14, 2020, H. Clanton to J.

Woodard.

      65. :The next day,. Epsilon reminded CHK that Article 'VI.2 of the JOAs

enabled Epsilon to proceed with the wells even ifCHK elected not to participate and

declined to serve as the operator of those wells.' Exhibit 8, October 15, 2020 H.

-Clanton to J. Woodard.

      66.   In a separate conifnunication, Epsilon provided CHK with further

reason to move forward with Epsilon's suggested wells, noting that the JOA Parties

would benefit from a 10% discount on the gathering rate. Exhibit 9, Oct.:16, 2020,

M. Raleigh to J. Taylor.

     .67.   Two Months later,.on December 16, 2020, Epsilon reiterated its plan to

drill new Wells on the Craige Pad. Exhibit 9, Dec: 16, 2020, M.Raleigh to J..Taylor.

    • 68. • CHK responded that there was "not much incentive to CHK to work a

deal here" and indicated that CHK wanted to come up with a scenario where

"Epsilon agrees.not to propose on CHK .." Exhibit 9, Dec. 16, 2020 J. Taylor to

M:Raleigh: •


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      69.    Epsilon responded that it would be willing to consider other options but

that it intended to continue pursuing its opportunities as allowed under the JOAs.

Exhibit 9, Dec. 17, 2020 M. Raleigh to J. Taylor.

      70.    In response,CHK asserted — for the very first time-=that it effectively

possessed veto power under the. JOAs.to."prevent the'development of wells that

CHK did not want to drill. CHK[was] not trying to prevent Epsilon from any rights

that it may have Under the JOA. We,,simply feel that there is no obligation on the

part of CHK to drill these.wells." Exhibit 9, Dec..18;2020, J. Taylor to M. Raleigh.

      71:    With discussions at a standstill, Epsilon formally proposed four wells

on December 23, 2020 in accordance with the procedure setforth in the JOAs:

Craige N.1LH,Craige N 1UHC,Craige N 4UHC("Craige North Wells")and Craige

S 3LHC ("Craige South Well") to be located in Rush Township, Susquehanna

County, Pennsylvania (the "Proposed Wells").

      72.    In conjunction with the Proposed Wells,CHK could elect between three

options: (1)elect to participate in the drilling and completion ofthe Proposed Wells

and to serve as the operator;(2)elect not to participate in the Proposed Wells but to

serve as the operator; or(3)elect not to participate in the Proposed Wells and decline

to serve as the operator(such that Epsilon would serve as the operator).

      73.    The other JOA Parties for the Craige South Well included Equinor

Onshore Properties, Inc. (f/k/a Statoil)("Statoil"), Chief Oil & Gas LLC (formally,


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 MKR Holdings, LLC) ("Chief"), Jamestown Resources, L.L.C. ("Jamestown"),

Enerplus Resources (USA) Corporation ("Enerplus"), Radler 2000 Limited

Partnership ("Radler"), Tug Hill Marcellus,LLC("Tug Hill"), and Unconventionals

 Natural Gas, LLC("UncOnventionals").

       74.      The other JOA Parties for the Craige North wells included Statoil and

 Jamestown.

       75.      Chief, Radler, and Tug Hill elected to participate in the Craige South

 Well. However, Statoil, Jamestown, Enerplus, and Unconventionals elected not to

 participate.

       76.      The other JOA Parties elected not.to• participate in the Craige North

 Wells.

F.     CHK's Refusal to Cooperate and Allow Epsilon Access to Jointly-Owned
       Property

       77.      On January 19, 2021, CHK advised that it would not participate in the

drilling of the Proposed Wells and would not act as operator. CHK also asserted

that Epsilon is not permitted to serve as the operator, and on that basis, refused to

 grant Epsilon access to the Craige well pad in order to drill the Proposed Wells.

Exhibit 10, Jan. 19, 2021 Non-Consent Letter, C. Moad to R. Collins.

       78.      In a letter dated that same day(although it was not delivered to Epsilon

until January 21, 2021), CHK proposed a new well known as the Koromlan 107HC

("Koromlan Well") that would be located in Rush Township, Susquehanna County,

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Pennsylvania. Exhibit 11 Jan. 19, 2021 Koromlan Well Letter, C. Moad to R.

Collins.

      79.    CHK suggested that the Proposed Wells were in conflict."with the

planned drilling of Chesapeake's Koromlan 107HC." Exhibit 11, Jan. 19, 2021

Koromlan Well Letter, C. Moad to R. Collins(emphasis added).

      80.    On January 20, 2021, CHK further stated: "Chesapeake maintains the

right to Operate the Craige pad site and associated wells, and hereby does not grant

approval or authority to Epsilon, or anyone else, to Operate from referenced pad.. .

. Subsequently, Chesapeake has plans to drill the Koromlan 107HC in early

2022, which is in conflict with Epsilon's proposed Craige S 3LHC. As such,

Chesapeake's well proposal will be forthcoming along with all elections for

Epsilon's, proposed wells." Exhibit 12, January 20, 2021 Scott Glenn to Mike

Raleigh.
     • ..
      81.    On February 9, 2021, Epsilon provided CHK with the required notice

that it had received 100% Subscription to proceed with the Proposed Wells. Exhibit

13, February 9, 2021 Epsilon's Notice of 100% Subscription.

      82.    On February 11, 2021, Epsilon requested an update on the status ofthe

letter that Epsilon needed CHK to sign so that Epsilon could obtain the water permit
                                                           •
that it needed to drill the Proposed Wells (as discussed in the next section). Exhibit

14, February 11, 2021, R. Collins to C. Moade.


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      83.    Ten minutes later, CHK responded by (1) reiterating its assertion that

the JOAs do not allow Epsilon, or any other JOA Party, to drill a new well if CHI(

elects not to participate in that well and(2)stating that CHK.would not sign the letter

that Epsilon needed to obtain a water permit for the Proposed Well's. 'Exhibit 14,

Feb. 11, 2021, J. Woodard to R. Collins.

      84.    Epsilon responded:

      It is hard for Epsilon to understand why Chesapeake takes the position
      of stopping production by claiming a super veto power that is counter
      to the JOAs or our prior Settlement Agreement. It is not in good faith
      and in fact it is deemed to be in bad faith. Ofcourse, Article VI2 allows
      for another Operator'when the designated Operator will not agree to
      operate. Again, your interpretation is not in good faith.

      Epsilon is interested in promoting the production of the joined
      resources, which is one ofthe base reasons for entering a JOA. Epsilon
      is furthering this interest by proposing wells that will be beneficial for
      the parties and has also been clear that it is willing to work with
      Chesapeake to ensure that Chesapeake can also proceed with its
      proposed well. Epsilon has continued to act in good faith and seeks
      only to have Chesapeake recognize its rights under the JOA and the
      Settlement • Agreement and stop Chesapeake's obstruction of
      developing the resources. The first step in doing so is signing the
      SRBC letter, which 'Chesapeake has done in the past for other
      parties. The next step is confirming that Chesapeake will provide
      Epsilon with access to the properties, and otherwise cooperate- with
      Epsilon, so that Epsilon can fulfill its responsibilities with respect to the
      four currently-proposed wells for which it has been designated as the
      operator.

      85.    Two minutes later, CHK curtly responded: "Respectfully, this is not a

good faith/bad faith discussion. The plain language of the JOA does not allow for



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Epsilon to assume operatorship." Exhibit. 14, February 11, 2021, J. Tarantelli to R.

Collins.

•     86.    Epsilon's request for assistance in obtaining a water permit for the

Proposed Wells was not a surprise to CHK. Back on July 1, 2020 — when Epsilon

shared its development plans with CHK — Epsilon sought CHK's assistance in

obtaining the requisite approval from the Pennsylvania Department of

Environmental Protection ("PaDEP") and the Susquehanna River Basin

Commission ("SRBC") for a water management plan. Exhibit 8, July 1, 2020 H.

Clanton to J. Woodard (noting that `,`Operators are required to submit a Water

Management Plan for approval.").

      87.   In accordance with its rights under the JOAs,Epsilon intends to use the

jointly-owned water impoundment at the Craige Pad to drill certain of the Proposed

Wells.

      88.   On September 18, 2020,,Epsilon sent CHK a draft SRBC commitment

letter, which CHK was required to execute in order for Epsilon to be able to use the

water impoundment for the Craige Pad. Exhibit 8, September 18, 2020, H Clanton

to J. Woodard. •

      89.   On September 25, 2020, Epsilon reiterated that it needed CHI( to sign

the SRBC commitment letter in order for Epsilon "to move forward with [Epsilon's]




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well permitting. It's a simple one page, self-explanatory forth."        Exhibit 8,

September 25,2020 H Clanton to J. Woodard.

•    • 90.   On September 28, 2020, Epsilon contacted CHI( once again about the

SRBC commitment letter, and this time referenced the parties' obligations under the

Settlement Agreement(which expressly required CHK to provide access to jointly-

oivried assets and water sources). Exhibit '8, Sept.. 28, 2020 H. Clanton to J.

Woodard.

      91.    On September 29 2020, CHK stated that, until Epsilon was- named as

the operator of any formally-proposed wells, CHK would not sign the SRBC

commitment letter. Exhibit 8, September 29, 2020, J. Woodard to H. Clanton.

      92.    After making its formal proposal in December 2020, Epsilon renewed

its efforts to obtain the water permit necessary to drill the Proposed Wells. On

January 29, 2021, the SRBC provided Epsilon with a commitment letter that CHK

had recently used to obtain a similar permit. Exhibit.15, Jan. 29, 2021 G Miller to

W. Jenko.

      93.    Using the commitment letter that CHK had recently used, Epsilon

prepared a draft commitment letter-(to be signed by CHK)that would enable Epsilon

to utilize water from the Wyalusing Creek withdrawal point — an asset that Epsilon's

subsidiary owns and contributed to the joint operations-governed.by the JOAs — to

drill the Proposed Wells. After reviewing the draft letter, the SRBC confirmed that


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it was acceptable and would enable Epsilon to obtain the water permit that it required

for the Proposed Wells. Exhibit 15, Jan. 29, 2021 G. Miller to W. Jenko.

      .94.   On February 9, 2021, Epsilon sent the proposed• letter to CHK for

execution so that 'Epsilon,could finalize the permitting for its Proposed Wells.

Exhibit.13, Feb. 9, 2021 R. Collins to J. Woodard.

      95.    On February 11, 2021, CHK advised that it would not sign the SRBC

commitment letter. CHK reiterated its position that, because CHK had not'elected

to participate, Epsilon could not procee&with its Proposed Wells. Exhibit 14, Feb.

11, 2021, J. Woodard to,R. Collins.    •

      96.    Furthermore, CHK made clear in its communications with Epsilon that

it would not grant Epsilon access to the Craige well pad in order to drill certain of

the Proposed Wells. Exhibit 10, Jan. 19, 2021 Non-Consent Letter, C. Moad to R.

Collins.

.G.   The Proposal for the Koromlan Well

      97.    The proposal for the Koromlan Well, which CHK dated January 19,

2021 but did not provide to Epsilon until January 21,,2021, indicates that the well

would traverse the Craige, Poulsen North,Poulsen South, and Davis Units.

  , . 98.    The.Koromlan Well would also,traverse a drilling unit not yet formed,

which CHK described as the Bradbury Unit.




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       99.    Because the Bradbury Unit has not yet been formed,the Koromlan Well

 would traverse acreage (including acreage owned by Epsilon)that cannot be pooled

 because it has not been unitized.

       100. In addition, the Koromlan Well's path is too close to the Craige South

 Well's path. Multiple JOA Parties have consented to and approved the Craige South

 Well, which Epsilon proposed prior to the Koromlan Well proposal.

       101. Further, upon information and belief, the Koromlan Well would

 traverse a block of acreage known as the Rushboro Ventures block that is not leased

(or whose lease is currently in question).

       102. The following is a projection of the path of the Koromlan Well and

 depicts these issues:




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                                                                        I    Bradbury Unit
                                                                            not yet formed?




               EPSN HBP
              1CHK Rushboro Ventures Leases
       - ->EPSN Proposed Craige S 3LHC
       --->CHK Proposed Koromlan 107HC (estimated-no landing point given by CHK)



      103. On February 9, 2021, Epsilon informed CHK that the proposal for the

Koromlan Well did not meet the JOA requirements for submitting a proposal. While

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Epsilon noted that the Koromlan Well's path would traverse non-unitized acreage,

as well as acreage with a title defect; Epsilon indicated that it might support a similar

well if these issues could be overcome (provided that CHK proposed such a well in

accordance with and ,compliance with the JOAs). Exhibit 16, Feb. 9, 2021,

Koromlan 107HC Well Proposal Response.

                  COUNT I — DECLARATORY JUDGMENT
                 (Epsilon's Right to Drill the Proposed Wells)

       104. The allegations set forth in Paragraphs 1 through 103 are incorporated

by reference as if fully set forth herein.

       105. Under the terms of the JOAs, CHK was required to make an election

with regard to both (1) its participation in the Proposed Wells and (2)its service as

the operator for the Proposed Wells.

      106. CHK elected not to participate and not to operate the Proposed Wells.

However, CHK has refused to cooperate with Epsilon so that Epsilon can drill and

operate the Proposed Wells (despite 100% participation being reached).

      107. To the contrary, CHK has taken the position that Epsilon may not drill

on the Craige well pad because CHK controls the subsurface and surface estates and

will not grant Epsilon access to the well pad.

      108. CHK has also taken the position that it will not sign the SRBC

commitment letter so that Epsilon can obtain the permit that it requires in order to

use jointly-owned water facilities to drill the Proposed Wells.
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        109. CHK's refusal to cooperate so that Epsilon can proceed with the

development of the Proposed Wells constitutes a breach of both the Settlement

Agreement and the JOAs.

        1 10. Nothing in the Settlement Agreement and/or the JOAs entitles CHK to

unilaterally veto a Well Proposal that Epsilon has submitted in accordance with the

JOAs.

      111. An actual, present and justiciable controversy has arisen between

Epsilon and CHK concerning:(1)the Settlement Agreement between the parties;(2)

Epsilon's right to drill a new well if CHK elects not to participate and declines to

serve as the operator; (3) CHK's refusal to provide access to the well pad so that

Epsilon may serve as the operator; and/or (4) CHK's refusal to sign the SRBC

commitment letter so that Epsilon may complete its permitting requirements to

obtain water necessary to drill the Proposed Wells.

      WHEREFORE, Epsilon asks the Court to enter a judgment in its favor

declaring that, if CHK elects not to participate in a proposed new well and declines

to serve as the operator, then (1) Epsilon has the right to drill and operate the

proposed new well;(2)CHK had an obligation to allow Epsilon to access the jointly-

owned assets under the JOAs in order to do so,including taking any actions required

to facilitate such access; and (3)CHK must otherwise cooperate with the operator

designated by the other JOA Parties to facilitate those drilling operations.


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                     COUNT II— BREACH OF CONTRACT
                      (SETTLEMENT AGREEMENT)

       1 12. The allegations set forth in Paragraphs 1 through 111 are incorporated

by reference as if fully set forth herein.

       1 13. The Settlement Agreement is a binding contract between CHK and

Epsilon.

       1 14. CHK confirmed in the Settlement Agreement that



       1 15. CHK expressly agreed in the Settlement Agreement that, if




      1 16. CHK has refused to cooperate with Epsilon with respect to the Proposed

Wells. In particular, CHK has (1) refused to sign the SRBC commitment letter so

that Epsilon can obtain the requisite water permitting and(2)denied Epsilon access

to the Craige well pad that will be utilized to drill the Proposed Wells.

      1 17. CHK's refusal to cooperate regarding the Proposed Wells — based on

its baseless assertion that only CHK is permitted to operate jointly-owned pad sites

and wells within the Baltzley North and South, Craige, and Poulsen North and South

Units — constitutes a material breach of the Settlement Agreement.
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       118. Epsilon has suffered harm and damage as a result of CHK's material

breach of the Settlement Agreement.

       WHEREFORE, Epsilon respectfully requests the Court enter a judgment in

its favor, award Epsilon actual damages representing the harm Epsilon has suffered

as a result of CHK's refusal to allow Epsilon to commence operations to drill the

Proposed Wells, together with interest, costs and fees, and grant Epsilon such other

and further relief as it deems just and appropriate.

                    COUNT III — BREACH OF CONTRACT
                        (SETTLEMENT AGREEMENT)
            (Breach of Implied Covenant of Good Faith & Fair Dealing)

       1 19. The allegations set forth in Paragraphs 1 through 118 are incorporated

by reference as if fully set forth herein.

      120. The Settlement Agreement is a binding contract between CHK and

Epsilon.

       121. CHK confirmed under the Settlement Agreement that



       122. Under the Settlement Agreement, if




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       123. An implied covenant of good faith and fair dealing exists in every

contract.

       124. CHK was required to take those actions reasonably necessary to carry

out the puipose of the Settlement Agreement and to refrain from taking action that

would destroy or injure Epsilon's right to receive the benefits of. the Settlement

Agreement.

       125. CHK's refusal to allow Epsilon access to a jointly-owned well pad and

to sign the SRBC commitment letter, which have prevented Epsilon from proceeding

with the Proposed Wells, constitutes a breach, of the duty of good faith and fair

dealing associated with the Settlement Agreement.

      WHEREFORE, Epsilon respectfully requests the Court enter a judgment in

its favor, award Epsilon actual damages representing the harm Epsilon has suffered

as a result of CHK's refusal to allow the commencement of operations to drill the

Proposed Wells, together with interest, costs and fees, and grant Epsilon such other

and further relief as it deemS-just and appropriate:

                  COUNT IV— BREACH OF CONTRACT
                                    (JOAs)
                                                       •
       126. The allegations set forth in Paragraphs 1 through 125 are incorporated

by reference as if fully set forth herein.

      127. The Baltzley North, Baltzley South, Craige, and Poulsen JOAs are

binding contracts between CHK,Epsilon, and the other JOA Parties.
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       128. CHK has adopted the position that it may unilaterally prevent the

drilling of a well proposed by another JOA Party when CHK refuses to participate

and declines to serve as the operator.

       129. ,CHK does not possess any such ."veto power"
                                                       :under the JOAs.

       130. CHK has prevented Epsilon from obtaining full and free access to the

Contract Area for the drilling of the Proposed Wells by preventing access to the

Craige well pad and refusing to sign the SRBC commitment letter (thereby

preventing Epsilon from obtaining the water permit that it requires).'.

       131. . CHK does not have the authority to block access to the jointly-owned

assets of the parties under the JOAs.

       132., Further, the JOAs expressly incorporate,a duty on the parties to act in

good faith "in their dealings with each other with respect to activities", taken pursuant

to the JOAs.

      133. By opposing Epsilon's efforts to, develop its property rights and meet

the shared goal of production, CHK has acted in bad faith.

       134. CHK's refusal to allow Epsilon access to a jointly-owned well pad and

to sign the SRBC commitment letter, which have prevented Epsilon from proceeding

with the Proposed Wells, constitutes a material breach ofthe JOAs.

       135. Epsilon has suffered harm and damage as a result of CHK's material

breach of the JOAs.


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      WHEREFORE, Epsilon respectfully requests the Court enter a judgment in

its favor, award Epsilon actual damages representing the harm Epsilon has suffered

as a result of CHK's refusal to 'allow the commencement of,operations on the

Proposed Wells, together with interest, costs and fees, including attorney's fees, and

grant Epsilon such other and further relief as it deems just and appropriate.

                                                                                ,
                    COUNT V       SPECIFIC PERFORMANCE

       136. The allegations set forth in Paragraphs 1 through 135 are incorporated

by reference as if fully set forth herein.

      137. Epsilon has no adequate reinedy at law to enforce the JOAs and the

Settlement Agreement other than specific performance.

     438. Monetary damages would be inadequate to compensate Epsilon for

CHK's viOlations ofthe Settlement Agreement and the JOAd becatise property rights

are inherently unique and no two tracts of land are identical.

      139. • Monetary damages would not allow Epsil6n to carry out the same,

unique exploration activities or prospeds anywhere else.             •

      140. CHK's breaches' of the Settlement Agreement and the JOAs have

damaged the value of Epsilon's mineral interests in an ambunt that is speculative

and difficult to determine.




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      141. Epsilon needs to timely complete its proposed drilling activity while

working conditions are adequate and support doing so, an extensive delay would

change the factors Epsilon considered in forwarding the Well Proposals.

      ,142. The only adequate remedy for the violationu of Epsilon's rights is to

compel CHK to,specifically perform the terms and provisions of the.Settlement

Agreement and the JOAs, including the provisions regarding the election to

participate and operate Well Proposals.. See Exhibit 1, Baltzley North JOA, Articles

VI.1, V. 2(a); Exhibit 2, Baltzley South JOA, Articles VI.1.; V, 2(a); Exhibit 3,

Craige JOA, Articles VD,V. 2(a); Exhibit 4, Poulsen JOA, Articles VI.1, VI. 2(a).

      WHEREFORE, Epsilon respectfully requests that this ,Court order CHK to

specifically perform under the Settlement Agreement and the ,JOAs by, requiring

CHK to (1) allow Epsilon to access the well pad and any other co-owned assets of

the JOAs in order to drill the ProposedNells;(2)sign the SRBC commitment letter

so,that Epsilon may secure the required permits and use co-owned water sources to

drill and operate the Proposed Wells; (3). otherwise reasonably cooperate • with

Epsilon so that it can drill and .operate the proposed Wells;(4) award Epsilon costs

and fees,including attorney's fees; and(5)grant Epsilon such other and further relief

as it deems just and appropriate.




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                   COUNT VI— DECLARATORY JUDGMENT
                          (The Koromlan Well)

      143. The allegations set forth in Paragraphs 1 through 142 are incorporated

by reference as if fully set forth herein.

       144. Under the terms of the JOAs, CHK is required to permit full and free

access to the JOA Parties to all operations of every kind that are conducted for the

joint account of the Contract Area.

      145. Further, all JOA parties are required to,act in good faith in their dealings

with each other.

      146. CHK has suggested that the Koromlan Well should take priority over

Epsilon's wells even though the Proposed Wells were previously, proposed and

received the required 100% Subscription to proceed.

      147. CHK's response to Epsilon's proposal to drill the Proposed Wells failed

to comply with the terms of the JOAs.

      148. An actual, present and justiciable controversy has arisen between

Epsilon and CHK concerning whether the proposal for the Koromlan Well satisfied

the requirements of the JOAs(and thereby constituted a "competing proposal").

      WHEREFORE, Epsilon asks the Court to enter a judgment in its favor

declaring that the proposal for the Koromlan Well did not satisfy the JOAs

requirements and does not prevent Epsilon from drilling the Proposed Wells.



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                      COUNT VII— INJUNCTIVE RELIEF

       149. The allegations set forth in Paragraphs' 1 through 148 are incorporated

by reference as if fully set forth herein.'

       150. Epsilon seeks injunctive relief to protect its property rights under the

JOAs, which are in danger Of being irreparably harmed.

     * 151. There is a substantial likelihood that Epsilon will prevail on the merits

of its claims. Despite the clear terms of the JOAs and the Settlement Agreement,

CHK has refused to follow the proper procedure for responding to Well Proposals

and/or submitting a competing proposal.

      152. CHK's violations of Pennsylvania law will continue to cause

immediate and irreparable harm to Epsilon.
                                                                      ..
      153. Unless enjoined by the Court, CHK will significantly dilute Epsilon's

mineral interests by refusing to take affirmative steps to drill the Proposed Wells.

      154. CHK's actions, if not abated, will irreparably harm Epsilon's property

rights,'deteriorating its Mineral rights underlying the Baitzley, Craige, and Poulsen

Units.
      , .            ,
       155. Epsilon is required to commence operations on the Proposed Wells

within a particular time period, in accordance with the Wells Proposals, and will be

unable to do so if CHK is. allowed to continue its obstructionist behavior regarding

the JOA'Parties'jointly-owned assets.


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       156. Epsilon needs to timely complete its proposed drilling activity while

working conditions are adequate and support doing so, an extensive delay would

change the factors Epsilon considered in forwarding the Well Proposals.

      157. There is no adequate remedy at law available. An award of money

damages cannot compensate Epsilon for the harm caused to the value of its mineral

interests and exploration activities, which are inherently unique.
                            •




      158. The irreversible harm to Epsilon's mineral interests are significantly

greater than .any monetary harm caused by delay to CHK's,unlawful activities if

injunctive relief is granted. Such 'overwhelming loss, to. Epsilon ,clearly tips the

balance of hardship in favor of an injunction.

      159. An injunction would serve the public interest because a public interest

exists in the enforcement ofcontracts and protection oflegitimate business interests.

An injunction is beneficial to the public to have proper and efficient development of

oil and gas resources to ensure there is no adverse effect on the supply of natural gas

or an adverse impact on natural gas prices.

      WHEREFORE, Epsilon respectfully requests that this Court issue a

permanent injunction:

      a.     restraining CHK and anyone acting or participating by, through, or in
             concert with CHK,from:

                  i.      interfering with Epsilon's preparation, operation, or
                          drilling ofthe Proposed Wells,including interference with

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                          Epsilon's access to the well, pad and access to water
                          facilities;

                          soliciting, encouraging, or causing any other entity or
                          person to interfere with Epsilon's preparation, operation,
                          and drilling of the Proposed Wells, including interference
                          with Epsilon's access to the well pad; or

                          soliciting, encouraging, or causing any other entity or
                          person to move forward with the development of the
                          Koromlan Well as currently proposed.

      b.     ordering CHK to sign the SRBC commitment letter;

      c.     ordering CHK to take all actions necessary to cooperate with Epsilon
             when CM( does not consent to an Epsilon proposal and declines to
             serve as the operator for that proposal, including (but not limited to)
             assistance with permitting and providing access to and use ofco-owned
             assets.

                                 JURY DEMAND

      160. Epsilon hereby demands a trial byjury as provided by Rule 38(a)ofthe

Federal Rules of Civil Procedure as to all issues or claims for which a jury trial is

allowed.




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Dated: March   ,2021
                                          Respectfully submitted,

                                         Is! Gregory J. Krock
                                         Gregory J. Krock
                                         Pa. I.D. No. 78308
                                         Elizabeth M. Thomas
                                         Pa. I.D. No. 322002

                                          MCGUIREWOODS LLP
                                          Tower Two-Sixty
                                          260 Forbes Avenue, Suite 1800
                                          Pittsburgh, PA 15221:3142
                                         (412)667-6000(Telephone)
                                         (412)667-6050(Facsimile)
                                          gkrock@mcguirewoods.com
                                          ethomas@mcguirewoods.corn

                                          Jonathan T. Blank
                                         Pro Hac Vice Request Forthcoming
                                          MCGUIREWOODS LLP
                                          652 Peter Jefferson Parkway
                                          Suite 350
                                          Charlottesville, VA 22911
                                         (434)977-2500(Telephone)
                                         (434)980-2222(Facsimile)
                                         jblank@mcguirewoods.com

                                         Counselfor PlaintiffEpsilon Energy
                                         USA, Inc.




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                                 VERIFICATION

      I, Michael Raleigh, am the Chief Executive Officer of Epsilon Energy USA,

Inc. and am authorized to execute this Verification on its behalf. I have read the

foregoing Verified Complaint and xerify that the factual statements therein are true

and correct to the best of my knowledge, understanding, and belief. I understand

this Verification is made subject to the penalties relating to unsworn falsification to

authorities,.,28 U.SC;§ 1.746.




Dated: March 9, 2021.
